Case 1:11-cv-02143-ENV-VVP Document 14 Filed 02/29/12 Page 1 of 2 PageID #: 42




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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David Soli,

                           Plaintiff,                                 ORDER OF DISCONTINUANCE

                  -against-
                                                                      1:11-cv-02143-ENV-VVP

City ofNew York et al,


                           Defendants.

---------------------------------------------------------------)(
VITALIANO, D.J.

        The Court having been advised that this action has been settled,

        Therefore, this action is discontinued without cost and with prejudice, except as to the

right to reopen the action if the settlement is not consummated.

        The Clerk is directed to close this case.



                 SO ORDERED.

DATED:           Brooklyn, New York
                 2/28/2012
                                                                    s/ ENV
                                                               ERICN. VITALIANO
                                                               U.S.D.J.
.·   Case 1:11-cv-02143-ENV-VVP Document 14 Filed 02/29/12 Page 2 of 2 PageID #: 43
       Case 1:11-cv-02143-ENV-WP Document 13 Filed 02/23/12                    Page 1 of 1 PageiD #: 41




                                               THE CITY OF NEW YORK
       MICHAEL A. CARDOZO                      LAW DEPARTMENT                                   LINDA MINDRUTW
       Corporation Counsel                     100 CHURCH STREET                          Assistant Corporation Counsel
                                               NEW YORK. NY 10007                                phone: (212) 788·1177
                                                                                                   fax: (212) 788-9776
                                                                                           email: Imindrut@law.nyc.gov

                                                                    February 23, 2012


       BYECF
       Honorable Viktor V. Pohorelsky
       United States Magistrate Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

                             Re: DavidSollv.CitvofNewYork.etaL, II CV2143ENV-VVP

       Your Honor:

                     I am an Assistant Corporation Counsel in the office of Michael A. Cardozo,
       Corporation Counsel of the City of New York, representing defendant City of New York in the
       above-referenced matter. I am writing to inform the Court that the parties have settled this
       matter and will be filing a Stipulation of Settlement and Order of Dismissal for the Court's
       endorsement soon. I also request that the telephonic status conference set for February 24,2012
       at 2:30pm be cancelled.

                                                                    Respectfully submitted,

                                                                      ~          JliJ=-
                                                                    Linda Mindrutiu
                                                                    Assistant Corporation Counsel
                                                                    Special Federal Litigation Division


       cc:   BYECF
       Matthew Benjamin Shroyer
